PAUL S. COLLIER, Petitioner v. COMMISSIONER OF INTERNAL REVENUE, RespondentCollierDocket No. 44610-86United States Tax CourtT.C. Memo 1992-497; 1992 Tax Ct. Memo LEXIS 513; 64 T.C.M. (CCH) 624; September 1, 1992, Filed *513 Held: The period of limitations upon assessment applicable to a partner's distributive share of partnership items is controlled by the filing of the partner's individual income tax return, as extended by any agreements relating thereto.  See Siben v. Commissioner, 930 F.2d 1034 (2d Cir. 1991), affg. T.C. Memo. 1990-435; Stahl v. Commissioner, 96 T.C. 798 (1991). For Petitioner: Declan J. O'Donnell. For Respondent: Randall L. Preheim.  WHITAKERWHITAKERMEMORANDUM FINDINGS OF FACT AND OPINION WHITAKER, Judge: This matter is before the Court on petitioner's motion for summary judgment filed pursuant to Rule 121. 1 Respondent determined a deficiency in, and increased interest on, Paul S. Collier's (petitioner) Federal income tax for the taxable year, and in the amounts, set forth below: Increased InterestTax Year EndedDeficiencySec. 6621(c)December 31, 1982$ 15,5624*514  A notice of deficiency was mailed to petitioner on August 18, 1986.  Petitioner resided in San Mateo, California, at the time the petition herein was filed.  The issue for decision is whether the period of limitations upon assessment applicable to a partner's distributive share of partnership items is controlled by the filing of the partnership's information return, or by the filing of the partner's individual income tax return, as extended by any agreements relating thereto. 2FINDINGS OF FACT Petitioner was a validly subscribed member of Alpha VIII Real Estate (Alpha VIII), a limited partnership, for the taxable year ending December 31, 1982.  On October 20, 1983, petitioner filed his 1982 individual income tax*515  return. Alpha VIII timely filed its 1982 partnership information return. Consequently, as of August 18, 1986, the period of limitations upon assessment had not expired with respect to petitioner's taxable year 1982; conversely, more than 3 years had elapsed since the filing of Alpha VIII's 1982 partnership information return. On April 13, 1992, petitioner filed a motion for summary judgment asserting that the period of limitations upon assessment had expired with respect to his distributive share of losses, deductions, and credits from Alpha VIII prior to the issuance of the notice of deficiency. 3*516  OPINION The sole issue for decision is whether the period of limitations upon assessment applicable to a partner's distributive share of partnership items is controlled by the filing of the partnership's information return, or by the filing of the partner's individual income tax return, as extended by any agreements relating thereto.  Petitioner contends that the period of limitations is controlled by the filing of the partnership's information return. Conversely, respondent contends that the period of limitations is controlled by the filing of the partner's individual income tax return. Petitioner cites , revg. and remanding , as authority for the proposition that the period of limitations upon assessment applicable to a partner's distributive share of partnership items is controlled by the filing of the partnership's information return. In , the Ninth Circuit held that the Commissioner may not adjust a taxpayer-shareholder's individual income tax return based upon an adjustment to a subchapter S corporation's information*517  return when the period of limitations had run as to the subchapter S corporation's return. . We previously considered and rejected the Ninth Circuit's decision in Kelley in determining the period of limitations applicable to a partner's distributive share of partnership items.  In , we held that the filing of a partnership information return does not affect the period of limitations upon assessment applicable to the determination of a deficiency against individual partners of a partnership. Similarly, in , affg. , the Second Circuit held that the applicable period of limitations was controlled by the partners' individual income tax returns rather than by the partnership return.  See also , affg. on this issue . We consider , and , to be dispositive of this issue; consequently, *518  we hold that the period of limitations upon assessment applicable to a partner's distributive share of partnership items is controlled by the filing of the partner's individual income tax return, as extended by any agreements relating thereto. In accordance with the holding set forth above, petitioner's motion for summary judgment will be denied. An appropriate order will be issued.  Footnotes1. Unless otherwise indicated, all Rule references are to the Tax Court Rules of Practice and Procedure, and all section references are to the Internal Revenue Code of 1954 in effect for the year in issue.↩4. To be determined.↩2. The taxable year at issue antedates the enactment of secs. 6221-6233 which provide that the tax treatment of partnership income, loss, deductions, and credits is to be determined at the partnership level in a unified partnership proceeding for partnership taxable years beginning after Sept. 3, 1982.↩3. On Apr. 14, 1992, petitioner filed an amended petition wherein it was represented that "the parties have settled all issues on the merits of the case in a proposed Stipulation, subject to a determination of jurisdiction as requested herein." Similarly, in the motion for summary judgment, petitioner represents that "no trial on the merits is expected because the parties have executed a Stipulation, subject to jurisdiction." In the notice of objection to motion for summary judgment, however, respondent asserts that neither a stipulation of settled issues nor a closing agreement has been executed by the parties.  Consequently, petitioner's motion for summary judgment is properly viewed as a motion for partial summary judgment. See Rule 121(c).↩